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                                         IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF DELAWARE

                                                                            )
In re:                                                                      ) Chapter 11
                                                                            )
NSC WHOLESALE HOLDINGS LLC, et al.,1                                        ) Case No. 18-12394 (____)
                                                                            )
                                                         Debtors.           ) Joint Administration Requested
                                                                            )
                                                                            )

                           DECLARATION OF MARK SAMSON IN SUPPORT OF
                       DEBTORS’ CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

                I, Mark Samson, hereby declare, under penalty of perjury, that the following information

  is true to the best of my knowledge, information and belief

                1.             I am a Managing Director with Getzler Henrich & Associates, LLC and the Chief

  Restructuring Officer (the “CRO”) of NSC Wholesale Holdings LLC, a Delaware corporation

  (“NSC”) and each of the other affiliated entities identified in Footnote 1 hereof (collectively, the

  “Debtors”), that have contemporaneously filed related voluntary petitions for relief under

  chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 – 1532 (the “Bankruptcy

  Code”) in this Court. I understand that NSC is the sole shareholder and/or managing member of

  NSC Realty Holdings LLC, NSC of West Hempstead, LLC, Teara LLC and BP Liquor LLC. I

  further understand that Noah Rosen is the managing member of Top Key, but NSC essentially




                                                              
  1
                The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
                number, are: NSC Wholesale Holdings LLC (6210); National Wholesale Liquidators of Lodi, Inc. (4301);
                NSC Realty Holdings LLC (4779); NSC of West Hempstead, LLC (5582); Top Key LLC (7503); BP
                Liquor LLC (2059); and Teara LLC (8660). The Debtors’ mailing address is 111 Hempstead Turnpike,
                West Hempstead, NY 11552.


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manages its business. NSC and National Wholesale Liquidators of Lodi, Inc. (“NWL Lodi”)

have identical multi-member ownership structures.2

              2.             For approximately the last month, I have served as the Debtors’ financial advisor.

Earlier today, I was appointed as the Debtors’ CRO. As CRO I have the sole right and power to

make decisions regarding the Debtors’ restructuring efforts and the Debtors’ chapter 11 cases.

              3.             In my roles as financial advisor, and now CRO, I, with the assistance of other

members of the Debtors’ management and the Debtors’ outside legal counsel and other

consultants, have also been actively involved in the Debtors’ efforts to develop restructuring

strategies and otherwise preserve and maximize the value of their assets. I am authorized by the

Debtors to submit this Declaration in support of the Debtors’ petitions and various First Day

Pleadings (defined below). I am familiar with the Debtors’ operations, business records, financial

affairs and related agreements and contracts.

              4.             Except as otherwise indicated, all facts set forth in this Declaration are offered to

the best of my knowledge, information and belief, and are based upon my personal knowledge,

my review of relevant documents, information provided to me by the Debtors’ management or

professionals working with me or under my supervision, or my informed opinion based upon my

experience and knowledge of the Debtors’ industry, operations and financial condition. If I were

called upon to testify, I could and would testify competently to the facts set forth herein.

              5.             On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of Bankruptcy Code. To enable the Debtors to operate

effectively and preserve the value of estate assets, the Debtors have requested various types of
                                                            
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              NSC and NWL Lodi are each owned as follows: Eva Rosen Trust FBO Scott Rosen (33.34%); Eva Rosen
              Trust FBO Carrie Rosen (33.33%); Eva Rosen Trust FBO Neil Rosen (33.33%).  

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relief in “first-day” applications and motions filed with this Court contemporaneously herewith

(collectively, the “First Day Pleadings”).

             6.              I submit this Declaration in support of the Debtors’ bankruptcy petitions and First

Day Pleadings. Any capitalized term not defined herein shall have the meaning ascribed to such

term in the applicable First Day Pleading. The First Day Pleadings seek, among other things, to:

(a) ensure the continuation of the Debtors’ cash management systems and other business

operations without interruption; (b) preserve customer relationships; (c) maintain employee

morale and confidence; and (d) establish certain other administrative procedures to promote a

smooth transition into chapter 11.                   Gaining and maintaining the support of the Debtors’

employees, customers and other key constituencies, as well as maintaining the operations of the

Debtors’ business with minimal disruption, will be critical to the Debtors’ efforts and in

maximizing recovery prospects for all interested constituencies.

             7.              Part I of this Declaration describes the Debtors’ business and the circumstances

surrounding the filing of the chapter 11 petitions. Part II sets forth the relevant facts in support

of the First Day Pleadings. Part III concludes that the relief requested in the First Day Pleadings

is in the best interests of the Debtors, their creditors and estates and therefore should be granted.

                                                          PART I

                                                     BACKGROUND

A.           General Background

             8.              The Debtors own and operate a chain of eleven (11) general merchandise close-

out stores located in four (4) states: Massachusetts, New Jersey, New York and Pennsylvania

(collectively, the “Stores”). The Stores, which operate under the name “National Wholesale

Liquidators,” are targeted to lower and lower/middle income customers in densely populated

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urban and suburban markets. The Debtors employ a unique hybrid merchandising strategy that

employs both continuity and close-out products. The Debtors offer customers both an everyday

selection of first quality, brand name merchandise and opportunistic and varying special buys.

             9.              While NSC is the primary operating entity for the Debtors’ business enterprise,

NWL Lodi and Top Key also maintain limited operations. NWL Lodi operates the Store at the

Debtors’ Lodi, New Jersey location and Top Key operates a liquor store within the Debtors’

Long Island City, New York Store.

             10.             NSC Realty Holdings LLC is the primary lessor with respect to the Debtors’ West

Hempstead Store and corporate headquarters location, which in turn is sub-leased to NSC of

West Hempstead, LLC. BP Liquor LLC exists solely to hold the liquor license with respect to

the Debtors’ Bay Parkway, New York Store. Teara LLC is an inactive company that was

originally intended to be used in connection with internet sales.

             11.             The Debtors’ average Store size is 54,000 square feet, with their largest Store

sized at more than 150,000 square feet. The Debtors also maintain a warehouse in Edison, New

Jersey and corporate offices in West Hempstead, New York. Prior to the Petition Date, the

Debtors announced the closing of a retail location in Middletown, New York.

             12.             As of the Petition Date, the Debtors had 695 employees, 629 of whom are

employed on a full time basis and 66 of whom are employed part time. Of the Debtors’ 695

employees, 611 are compensated on an hourly basis and 84 are compensated on annual salary

basis.         Moreover, 538 of the Debtors’ store-level employees are unionized (the “Union

Employees”). The Union Employees’ terms of employment are governed in part by the terms of

a certain Collective Bargaining Agreement with Amalgamated Local 298 AFL-CIO, dated as of

December 1, 2017 (the “CBA”).

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             13.             Despite historically strong performance on a store-by-store basis, the Debtors’

liquidity and financial performance has been adversely affected by several unanticipated factors,

including construction-related damages that resulted in the closing of one of the Debtors’ most

profitable Stores and costly delays in opening a new Store location. Like many retailers, over the

last few years, the Debtors have also experienced declining sales and rising costs associated with

doing business as a predominantly “brick and mortar” retailer. The challenges impacting the

Debtors have affected their ability to borrow under their prepetition lending facility. Without

additional liquidity, the Debtors’ inventory has been shrinking and sales have been declining.

             14.             Notwithstanding these challenges, the Debtors believed their financial challenges

could be overcome by access to additional liquidity to acquire more inventory and open

additional retail stores. For months prior to the Petition Date, the Debtors were negotiating with

a group of industry players for a significant equity investment in the Debtors’ businesses.

Unfortunately, after substantially completing due diligence, the potential equity investors

informed the Debtors that they were not prepared to move forward with an equity investment.

             15.             Instead of an equity investment, the potential equity investors expressed interest

in purchasing substantially all of the Debtors’ assets through a sale under section 363 of the

Bankruptcy Code. Similarly, another group, which includes one of the Debtors’ insiders, also

expressed an interest in purchasing a portion of the Debtors’ assets and businesses as a going

concern through a section 363 sale.

             16.             In light of these expressions of interest, the Debtors retained an investment

banker, SSG Advisors, LLC (“SSG”), to assist them in marketing their assets, negotiating with

interested parties, and facilitating due diligence.




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             17.             Despite SSG’s efforts, none of the parties that expressed interest in purchasing the

Debtors’ assets as a going concern made a meaningful proposal which, in the Debtors’ view,

would result in better value for the Debtors’ estates than proceeding with store closing or

similarly themed sales of the Debtors’ inventory (“Closing Sales”).

             18.             Accordingly, the Debtors have determined that, under the circumstances, the best

way to preserve value for their estates and creditors is to immediately commencing Closing Sales

and, at the same time, pursue a sale process for any and all of the Debtors’ remaining assets. The

Debtors believe this plan offers the best opportunity to maximize the value to the estates for all

creditors and stakeholders.

C.           Pre-Petition Debt Structure

             (i)             Prepetition Lender

             19.             On or about October 26, 2015, NSC, as Borrower, and NWL Lodi, as Corporate

Guarantor, and Capital One, National Association (“Capital One”), as Lender, entered into an

Amended and Restated Credit Agreement (the “Credit Agreement”), pursuant to which Capital

One agreed to make available up to a maximum amount of $20,000,000 through a revolving loan

(the “Revolving Loan”), up to $2,500,000 through a delayed draw term loan (the “Term

Loan”), and a letter of credit commitment of up to $2,000,000 (collectively with the Revolving

Loan and the Term Loan, the “Loan Facility”).

             20.             The Revolving Loan is an asset-based facility, pursuant to which Capital One

loans funds to the Debtors in an amount up to sixty-five percent (65%) of Eligible Inventory (as

defined in the Credit Agreement).




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             21.             NSC executed an Amended and Restated Revolving Credit Note, in the original

principal amount of $20,000,000, evidencing its obligation to repay any and all amounts loaned

to it by Capital One.

             22.             Debtors NWL Lodi, NSC Realty Holdings, LLC, NSC of West Hempstead, LLC,

Top Key, Teara LLC, and BP Liquor LLC executed an Amended and Restated Guaranty

Agreement with respect to the obligations under the Loan Facility.

             23.             As security for the obligations under the Loan Facility, all of the Debtors also

executed an Amended and Restated Security Agreement, whereby each of the Debtors granted to

Capital One a first-position security interest in substantially all of the Debtors’ assets, including

the Debtors’ cash (the “Cash Collateral”).

             24.             As of October 1, 2018, the Debtors are indebted to Capital One in the total

amount of not less than $8,575,000 in connection with the Revolving Loan, $756,000 in

connection with the Term Loan, and not less than $125,000 in connection with the letter of credit

commitment.

             (ii)            True Value

             25.             On or about September 24, 2014, NSC entered into a Retail Member Agreement

with True Value Company (“True Value”), a cooperative of independent retailers. NSC granted

True Value a security interest in inventory sold, leased or consigned to NSC by True Value, and

NSC’s receivables and other rights arising from inventory acquired from True Value. As of the

Petition Date, the Debtors’ books and records indicate that NSC is indebted to True Value in the

total amount of approximately $107,516 and that the Debtors have True Value inventory on hand

in the amount of approximately $395,000.




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             (iii)           Unsecured Obligations

             26.             The Debtors estimate aggregate unsecured debt of approximately $27.2 million as

of the Petition Date. These obligations are generally owed to trade creditors (i.e., suppliers of

inventory and equipment), and landlords with respect to the Debtors’ Store locations.

                                                        PART II

                                               FIRST DAY PLEADINGS

             27.             An important (and in many respects critical) element of the success of these

chapter 11 cases (the “Chapter 11 Cases”) will be the entry of orders granting the relief

requested in each of the First Day Pleadings. Generally, the First Day Pleadings are designed to

facilitate: (a) the continuation of the Debtors’ existing cash management systems and other

business operations without interruption; (b) preservation of customer relationships;

(c) maintenance of employee morale and confidence; and (d) establishment of certain other

administrative procedures to promote a smooth transition into chapter 11. The relief requested in

the First Day Pleadings is necessary to avoid immediate and irreparable harm to the Debtors, and

consequently, Rule 6003 of the Federal Rules of Bankruptcy Procedure, to the extent applicable

to any particular First Day Pleading, has been satisfied. The factual background in support of

each First Day Pleading is provided below:

A.           Debtors’ Motion for an Order Directing Joint Administration of Chapter 11 Cases
             (the “Joint Administration Motion”)

             28.             Through the Joint Administration Motion, the Debtors seek entry of an order

directing joint administration of the Debtors’ Chapter 11 Cases and the consolidation thereof for

procedural purposes only.

             29.             NSC is a Debtor in these Chapter 11 Cases, and each of the other Debtors is an

affiliate of NSC.
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B.           Motion of the Debtors for an Order Authorizing Debtors to (I) File a Consolidated
             List of Creditors, (II) File a Consolidated List of Debtors’ Twenty Creditors
             Holding Largest Unsecured Claims and (III) Mail Initial Notices (the “Creditor
             Matrix Motion”)

             30.             Through the Creditor Matrix Motion, the Debtors seek entry of an order:

authorizing the Debtors to: (i) maintain and file a consolidated list of creditors; (ii) file a

consolidated list of the Debtors’ twenty (20) creditors holding the largest unsecured claims in

lieu of filing lists for each Debtor; and (iii) mail initial notices.

             31.             The Debtors have identified over 1,400 entities to which notice of certain

proceedings in the Debtors’ Chapter 11 Cases must be provided.

             32.             The Debtors, with the assistance of their proposed claims agent, Omni

Management Group (“Omni”), currently keep and update various lists of the names and

addresses of each of their respective creditors that will be entitled to receive certain notices and

other pleadings filed in the Chapter 11 Cases.                      The Debtors believe that the information

contained in these files can be consolidated and used in an efficient manner to provide Notices

and other pleadings to parties in interest as required in the Chapter 11 Cases.

             33.             Upon consultation with Omni, the Debtors believe that filing the lists in the

formats currently maintained in the Debtors’ ordinary course of business will be sufficient to

allow Omni to promptly notify all applicable parties as required in the Chapter 11 Cases.

             34.             Due to the number and nature of creditors in these cases, the Debtors submit that a

single consolidated list of their combined twenty (20) largest unsecured creditors in these cases

would be more reflective of the body of unsecured creditors that have the greatest stake in these

cases than separate lists for each of the Debtors. Other than jointly held guarantee obligations,

most of the Debtors, other than NSC, have no independent operations or creditors. Accordingly,



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the Debtors respectfully request authorization to file a single consolidated list of their twenty

(20) largest unsecured creditors in these Chapter 11 Cases.

C.           Motion of Debtors for Interim and Final Orders Authorizing (A) Continuation of
             Existing Cash Management System, (B) Maintenance of Existing Business Forms
             and Bank Accounts, (C) Continuation of Intercompany Transactions, and
             (D) Payment of Related Prepetition Obligations (the “Cash Management Motion”)

             35.             Through the Cash Management Motion, the Debtors seek entry of an order

authorizing the Debtors to (a) continue using their existing cash management system,

(b) continue using their existing business forms and bank accounts, (c) continue their

intercompany transactions, and (d) pay related prepetition obligations.

             (i)             The Cash Management System

             36.             Prior to the Petition Date, the Debtors employed a cash management system to

collect funds generated by their operations and to disburse funds to satisfy obligations incurred in

the ordinary course of their businesses (the “Cash Management System”).                         The Cash

Management System consists of five bank accounts (the “Bank Accounts”).

             37.             The Debtors maintain the following three Bank Accounts at Capital One: (a) an

operating account (the “Master Depository Account”), (b) a controlled disbursement account,

and (c) a rebate account (the “Rebate Account”). The Debtors also maintain two bank accounts

at Bank of America, N.A. (“Bank of America” and, collectively with Capital One, the

“Banks”), an armored truck deposit account (the “Armored Truck Account”) and a separate

account for Top Key (the “Top Key Account” and, collectively with the Armored Truck

Account, the “Bank of America Accounts”).




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             38.             A summary of the Debtors’ Bank Accounts is set forth below:

  Bank Account                     Controlling Debtor Entity        Account Description       Last Four of
                                                                                            Account Number
    Capital One                      NSC Wholesale Holdings          operating account           0419
                                           LLC

    Capital One                      NSC Wholesale Holdings               controlled             1760
                                            LLC                     disbursement account
    Capital One                      NSC Wholesale Holdings             rebate account           0427
                                            LLC
Bank of America                      NSC Wholesale Holdings         armored truck deposit        3484
                                            LLC                             account
Bank of America                         Top Key LLC                   separate account           3201
                                                                          required in
                                                                       connection with
                                                                        liquor license

             39.             As a general matter, other than the specified limited uses described herein, the

entirety of the Debtors’ Cash Management System is run through the Master Depository

Account. With the exception of funds directed to the Bank of America Accounts, all cash and

other receipts generated by the operation of the Debtors’ businesses are deposited into the Master

Depository Account.

             40.             In the ordinary course of business, the Debtors offer certain rebates (“Rebates”)

for their customers, which are described more fully in the Debtors’ Motion for Interim and Final

Orders (I) Authorizing Debtors to Honor Certain Prepetition Programs in the Ordinary Course

of Business and (II) Granting Certain Related Relief (the “Customer Programs Motion”).

Rebates are paid directly to qualifying customers from the Rebate Account. Funding for the

Rebate Account is maintained by periodic transfers from the Master Depository Account on an

as-needed basis.

             41.             The Armored Truck Account is a separate account at Bank of America maintained

to facilitate deposits from an armored truck service in connection with the Debtor’s Dorchester,

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Massachusetts location. Cash receipts from the Lodi Store are also taken by armored truck on a

regular basis, and the armored truck service maintains a deposit relationship with Bank of

America.             The Debtors also utilize the Armored Truck Account to receive deposits from

American Express credit card transactions for certain of the Debtors’ stores (all other credit card

transactions, including American Express at the other locations, are deposited directly in to the

Master Depository Account). The funds deposited into the Armored Truck Account are swept by

the Debtors, typically on a weekly basis, into the Master Depository Account.

             42.             Finally, the Top Key Account is a separate account maintained by Top Key LLC,

which operates a liquor store within the Debtors’ Long Island City, New York location, as

required by applicable law with respect to liquor stores in New York. Cash receipts and direct

expenses of Top Key are paid from the Top Key Account, and any remaining funds are

transferred to the Master Operating Account in payment of intercompany balances owed to NSC

by Top Key in the ordinary course of business.

             (ii)            Credit Card Programs

             43.             In the ordinary course of business, the Debtors utilize credit cards issued by

Capital One, Citi, and American Express (together, the “Credit Cards”) through certain of the

Debtors’ employees. The Debtors’ employees use the Credit Cards to pay for business expenses

incurred in the ordinary course of business.

             (iii)           Intercompany Transactions

             44.             The scope of the Debtors’ intercompany transactions (the “Intercompany

Transactions”) is generally limited to transferring surplus funds from the Top Key Account into

the Master Depository Account. The Intercompany Transactions are routine and necessary for

the payment of ordinary course expenses incurred by NSC on behalf of Top Key. Other than

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with respect to the Top Key Account, all of the Debtors’ bank accounts are held by NSC, such

that all other transfers merely reflect the ordinary flow of funds from one account to another held

by the same entity.

             45.             The Debtors maintain records of transfers of cash and can trace and account for

all Intercompany Transactions. The Debtors will continue to maintain such records. If the

Intercompany Transactions were terminated, the Cash Management System would be disrupted

to the detriment of the Debtors and their estates.

             (iv)            Bank Fees

             46.             The Debtors incur approximately $10,000 per month in various fees in connection

with their Bank Accounts, including $6,000 in bank fees and $4,000 in unused line of credit fees

(together, the “Bank Fees”). These fees are automatically deducted each month by Capital One,

and therefore no Bank Fees should be due as of the Petition Date. The Debtors seek authority to

continue paying the Bank Fees in the ordinary course of business.

             (v)             Existing Business Forms

             47.             In the ordinary course of business, the Debtors use a variety of correspondence

and business forms, including purchase orders and checks (collectively, the “Business Forms”).

To minimize the expense to the Debtors’ estates associated with developing or purchasing

entirely new forms, the delay in conducting business before obtaining such forms, and the

confusion of suppliers and other vendors, the Debtors seek authority to continue using their

Business Forms substantially in the forms used immediately before the Petition Date, without

reference therein to the Debtors’ status as “Debtors-in-Possession.”




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             48.             The relief requested in the Cash Management Motion is essential to facilitate the

orderly operation of the Debtors’ business and reorganization process.

D.           Motion of Debtors for Interim and Final Orders (I) Authorizing, but not Directing,
             Debtors to (A) Pay and Honor Prepetition Wages, Salaries, Other Compensation,
             Reimbursable Business Expenses, and Employee Benefit Obligations, and
             (B) Maintain and Continue Certain Compensation and Benefit Programs
             Postpetition; and (II) Granting Related Relief (the “Employee Compensation
             Motion”)

             49.             Through the Employee Compensation Motion, the Debtors seek entry of an order

authorizing, but not directing, the Debtors, in accordance with their past and current policies and

practices, to: (a) pay unpaid prepetition wages, salaries, and accrued compensation including

incentive compensation, health and welfare benefit obligations, and reimbursable business

expenses, as applicable to the Workforce (as defined herein), and all costs related thereto

(collectively, the “Workforce Obligations”); (b) maintain and continue to honor the Workforce

Obligations as they were in effect as of the Petition Date and as such may be modified, amended

or supplemented from time to time in the ordinary course.

             50.             The Debtors’ employees are paid weekly. The Debtors’ last payroll was paid to

employees on October 24, 2018, for the period from October 15, 2018 through October 21, 2018.

The next payroll should be paid on November 1, 2018 for the period from October 22, 2018

through October 28, 2018.                    This pay period will capture three (3) prepetition days (the

“Prepetition Pay Period”). Accordingly, the Debtors request authority to pay their employees

the amounts owed for Workforce Obligations for those prepetition days in the next scheduled

payroll. No single individual will be paid over the statutory cap of $12,850 on account of any

prepetition claim for wages, benefits, or other compensation, absent further order of the Court.

             51.             The categories of payments sought to be made on account of the prepetition

Workforce Obligations, which are described in more detail below, are estimated to be as follows:
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                                   Wages & Salaries - $160,000
                                   Incentive Compensation - $4,000
                                   Reimbursable Business Expenses - $5,0003
                                   Benefit Programs - $95,000

              (i)            The Debtors’ Workforce

              52.            The Debtors employ 695 employees, comprised of approximately 629 full-time

employees and 66 part-time employees (the “Workforce”). Of the employees in the Workforce,

611 of the Debtors’ employees are compensated on an hourly basis and 84 employees are

compensated on annual salary basis.

              53.            Many of the Debtors’ store-level and warehouse employees are unionized (the

“Union Employees”). Of the Debtors’ total Workforce, there are 538 Union Employees. The

Union Employees’ terms of employment are governed in part by the terms of the CBA. Per the

CBA, the Union Employees include “full time and part time employees employed by the

Employer, excluding clerical and office employees, store managers, assistant store managers,

department managers, management trainees, head cashiers, receiving manager, guards,

supervisors, confidential, managerial and professional employees as defined in the National

Labor Relations Act of 1947, as amended[,]” employed at all locations (present or future),

including Lodi, Long Island City, Bay Parkway, Coop City, Dorchester, Middletown, Jersey

City, Flushing, Dorchester, Philadelphia, Rosedale, and West Hempstead.

              54.            The CBA governs, inter alia, hours of work, rates of pay, and discharge and

discipline for the Union Employees. The CBA expires on November 30, 2020.



                                                            
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              The amount of Reimbursable Business Expenses cannot be determined until all requests for reimbursement
              are submitted and processed. The amounts set forth herein include those known and estimated based on
              prior historical performance.

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             55.             The Debtors submit that any delay in paying the Workforce Obligations will

adversely impact the Debtors’ relationships with their Workforce and could irreparably harm the

Workforce’s morale, dedication, confidence, and cooperation. The Debtors cannot risk the

substantial damage to their business that would certainly occur if such delay or failure were to

happen.

             56.             At the same time, the vast majority of the Workforce relies exclusively on their

compensation and benefits to pay their daily living expenses and to support their families. Thus,

members of the Workforce will be exposed to significant financial constraints if the Debtors are

not permitted to continue paying wages and salaries, providing employee benefits, and

maintaining certain programs in the ordinary course of business. Consequently, the Debtors

respectfully submit that the relief requested herein is necessary and appropriate under the facts

and circumstances of the Chapter 11 Cases.

             (ii)            Employee Compensation

                             (A)    Wages and Salaries

             57.             Employee compensation is comprised of base wages and salaries (“Wages and

Salaries”), including incentive based compensation (“Incentive Compensation”). As of the

Petition Date, the Debtors’ average gross payroll is approximately $280,000 per pay period for

the employees.

             58.             In addition, the Debtors estimate that their employees have accrued approximately

$183,000 in unused vacation. The Debtors seek authority to continue honoring accrued vacation

in the ordinary course of business by permitting employees to take regularly scheduled vacations.

In addition, to the extent employees are laid off or otherwise terminated after the Petition Date,




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the Debtors seek authority to pay such employees the cash value of such employee’s accrued

vacation at the time of termination.

             59.             In the ordinary course of business, the Debtors incur payroll obligations for

Wages and Salaries. Because employees are paid in arrears, employees are owed accrued but

unpaid Wages and Salaries as of the Petition Date. As of the Petition Date, the Debtors estimate

that they owe approximately $160,000 in the aggregate to employees on account of the

Prepetition Pay Period.

                             (B)    Incentive Compensation

             60.             Prior to the Petition Date, in the ordinary course of business, the Debtors

maintained at least one ordinary course Incentive Compensation program for individuals that

operate company stores; the compensation is sale-based.

             61.             More specifically, the Incentive Compensation program provides a 1-5% payment

to employees who sell furniture. This program includes approximately 14 members of the

Debtors’ Workforce. During a recent pay period, Incentive Compensation totaled approximately

$2,700.

             62.             As of the Petition Date, the Debtors estimate that they owe approximately $4,000

on account of Incentive Compensation to members of the Debtors’ Workforce. The amount of

Incentive Compensation is determined on a weekly basis.

                             (C)    Reimbursable Business Expenses

             63.             Prior to the Petition Date and in the ordinary course of business, the Debtors

reimburse certain members of their Workforce for approved, reasonable expenses incurred in the

scope of their employment on behalf of the Debtors. These expenses include business travel




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costs, meals, supplies and other business-related expenses (the “Reimbursable Business

Expenses”).

             64.             As of the Petition Date, the Debtors estimate that they owe at least $5,000 on

account of unpaid obligations related to Reimbursable Business Expenses arising during the

Prepetition Pay Period.                 The exact amount of Reimbursable Business Expenses cannot be

determined until all requests for reimbursement are submitted and processed; the $5,000 amount

corresponds with requests already submitted and an estimate based on historical performance.

                             (D)    Health and Welfare Benefits Programs

             65.             The Debtors maintain and/or contribute to employee benefit programs for

employees, including, but not limited to, medical insurance, dental insurance, disability

insurance, and life insurance (collectively, the “Benefit Programs”). The costs of the Benefit

Programs are either (a) paid fully by the Debtors, (b) shared by the Debtors and the Employees,

or (c) paid fully by the Employees, depending on the program. The Workforce contributes to the

costs of the Benefit Programs through deductions from their paychecks.

             66.             Average costs for the Benefit Programs are as follows:

              

                                                                                        Average Monthly
      Insurance Type                          Payee                      Payor
                                                                                             Cost
                                                                     50% Company
    Medical Insurance                   Local 298 (Union)                               $90,000 per month
                                                                     50% Employee
    Medical Insurance                         Oxford                 100% Company       $7,300 per month

    Medical Insurance                        AFLAC                   100% Employee      $1,700 per month

     Dental Insurance                        Principal               100% Company       $1,300 per month
                                         Standard Security
 Disability and Family                                               50% Company
                                          Life Insurance                                $7,000 per quarter
  Medical Leave Act                                                  50% Employee
                                             Company

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             67.             The Debtors estimate that approximately $95,000 will become due and payable

shortly after the Petition Date in connection with the Prepetition Pay Period. By this Motion, the

Debtors request authority, but not direction, to honor and pay the Benefits Programs for the

Prepetition Pay Period and to continue to pay for its share of the Benefits Programs in the

ordinary course of business on a postpetition basis.

             (iii)           Payroll Administration Fees

             68.             The Debtors use Paycor to administer their payroll and time management systems,

and Cincinnati Time Recorder (“CTR”) to record and monitor time clocks used by employees.

Between Paycor and CTR, the Debtors pay approximately $2,100 per week for these

administrative services; these amounts are automatically deducted from payroll funds. As of the

Petition Date, the Debtors were current with their obligations to Paycor and CTR.

             (iv)            Tax and Withholding Obligations

             69.             The Debtors routinely deduct certain amounts from employees’ compensation that

represent various Withholding Obligations that the Debtors are required to remit to third parties,

including, for example, various federal, state and local income, and Federal Insurance

Contribution Act and other taxes (collectively, the “Employee Withholdings”). On average, the

amount deducted and remitted by the Debtors in respect of Employee Withholdings totals

approximately $64,120 per pay period.                      As of the Petition Date, all applicable Employee

Withholdings were remitted to the applicable third parties.

             70.             Should any prepetition amounts become due and owing in connection with the

Employee Withholdings, the Debtors believe that these amounts, which are held for payment to a

third party (e.g., the taxing and regulatory authorities) and are properly deemed to be held in

trust, do not constitute property of the Debtors’ estates.

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E.           Debtors’ Motion for Interim and Final Orders (I) Authorizing Debtors to Honor
             Certain Prepetition Customer Programs in the Ordinary Course of Business and
             (II) Granting Certain Related Relief (the “Customer Programs Motion”)

             71.             Through the Customer Programs Motion, the Debtors seek entry of an order

(i) authorizing the Debtors to honor certain prepetition customer programs in the ordinary course

of business and (ii) granting certain related relief.

             72.             Prior to the Petition Date, and in the ordinary course of their business, the Debtors

engaged in a variety of marketing and sales practices designed to develop and sustain customer

satisfaction and loyalty (collectively, the “Customer Programs”). As described herein, the

Customer Programs include, without limitation, Gift Cards, Rebates, Refunds, Reward Cards and

Customer Financing (each as defined herein). The goal of the Customer Programs are to meet

competitive pressures, ensure customer satisfaction, and generate goodwill for Debtors, thereby

retaining current customers, attracting new customers, and ultimately enhancing revenue and

profitability.

             (i)             Gift Card Program

             73.             The Debtors historically employed a gift card program through which customers

could purchase a pre-paid card to use as an alternative to cash for purchases within the store (the

“Gift Cards”).

             74.             The Debtors believe there are no outstanding Gift Cards issued, as any Gift Cards

issued would have expired. However, out of an abundance of caution, the Debtors seek authority

to continue to honor Gift Cards in the ordinary course of business during the pendency of the

Chapter 11 Case, including if purchased before the Petition Date.




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             (ii)            Rebates

             75.             In the ordinary course of business, the Debtors offer Rebates to customers in

connection with certain purchases. Rebates are typically in a relatively de minimis amount,

ranging between $1 and $5 per applicable purchase. After making a qualifying purchase, the

customer may mail a completed rebate form back to the Debtors, who then issue a check back to

the customer from the Debtors’ bank account designated for Rebates.

             76.             The Debtors believe that the costs of the Rebates are far outweighed by the

benefits, through increased purchases, customer loyalty and customer satisfaction. The Debtors’

most loyal customers look for Rebates when shopping at the Debtors’ locations. Accordingly,

Rebates spur increased shopping and revenue generation.

             77.             It is impossible for the Debtors to predict with any certainty the total amount of

outstanding Rebate obligations as of the Petition Date since many customers purchase products

for which Rebates may be submitted but never in fact submit the necessary paperwork.

Historically, the Debtors receive and process approximately $2,000 in Rebates per month.

             78.             If the Debtors were unable to honor existing Rebates, the resultant customer

backlash could be catastrophic. Traditionally loyal customers may cease shopping at the

Debtors’ stores if their Rebates are not honored, and customers may turn to the Debtors’

competitors if the Debtors are unable to honor their existing and ongoing Rebate obligations.

             (iii)           Returns, Exchanges and Refunds

             79.             Certain of the Debtors’ customers may hold contingent claims against Debtors for

refunds, returns, exchanges, substitutions, store credit and other credit balances (collectively, the

“Refunds”). Subject to certain restrictions and requirements, customers may request a refund or

exchange for the full amount of a purchased item. Unused portions of the return dollar amount

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are returned to the customer in the form of the original payment. In certain circumstances, such

as when the customer no longer possesses the receipt, the customer may exchange his or her

purchase for store credit in the amount of the full retail price. The Debtors believe that the

increase in and maintenance of customer loyalty generated by the Refunds outweighs the cost of

the Refunds.

             (iv)            Reward Cards

             80.             In the ordinary course of business, the Debtors issue reward cards (“Reward

Cards”) to their customers. Reward Cards enable customers to accumulate “points” based on

their purchases in the Debtors’ stores. Once customers accumulate sufficient points, they receive

benefits such as discounts on future purchases. Specifically, for every 200 points accumulated,

customers receive a $5 coupon that can be used to discount future purchases.

             81.             The Reward Cards have no direct cash value, and the only liability the Debtors

may incur in connection therewith relates to discounts from future purchases. The Debtors

believe that the loss of future sales revenue that would result if the Debtors do not continue to

honor Rewards Cards would outweigh any costs involved in continuing to honor Reward Cards

for customers in the ordinary course of business.

             (v)             Customer Financing

             82.             In the ordinary course of business, the Debtors maintain relationships with

independent third-party finance companies that offer financing options to the Debtors’ customers

(collectively, “Customer Financing”). Practically speaking, the Debtors merely operate as an

intermediary – connecting customers who desire financing with the finance companies. By way

of example, if a customer wishes to finance his or her purchase of a higher priced item, the

Debtors will facilitate such Customer Financing by providing the customer with a credit

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application from one of the independent finance companies. If approved, the finance company

will fund the customer’s purchase and the customer will repay the finance company pursuant to

the terms offered by the finance company.

             83.             While the Debtors’ relationship with the independent finance companies are

governed by various contracts, the Debtors have no monetary liability to the finance companies,

nor do they bear any liability with respect to the Customer Financing relationships created

between the finance companies and the Debtors’ customers. The Debtors merely facilitate the

connection so that their customers can apply for financing directly to the third party.

F.           Motion of Debtors for Interim and Final Orders (I) Approving Proposed Form of
             Adequate Assurance of Payment to Utility Companies, (II) Establishing Procedures
             for Resolving Objections by Utility Companies, and (III) Prohibiting Utility
             Companies from Altering, Refusing, or Discontinuing Service (the “Utilities
             Motion”)

             84.             Through the Utilities Motion, the Debtors seek entry of interim and final orders

(i) approving the Debtors’ proposed form of adequate assurance of payment for postpetition

Utility Services (as hereinafter defined); (ii) establishing procedures for resolving objections by

Utility Companies (as hereinafter defined) relating to the adequacy of the proposed adequate

assurance; and (iii) prohibiting Utility Companies from altering, refusing, or discontinuing

service to, or discriminating against, the Debtors on the basis of the commencement of the

Chapter 11 Cases or that a debt owed by the Debtors for Utility Services rendered before the

Petition Date (as hereinafter defined) was not paid when due.

             85.             To operate their businesses and manage their properties, the Debtors obtain

telecommunications, water, gas, electricity, and other utility services (collectively, the “Utility

Services”) from a number of utility companies (collectively, the “Utility Companies”). A

nonexclusive list of Utility Companies that provide Utility Services to the Debtors as of the

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Petition Date is provided on Exhibit 1 annexed to the forms of order submitted with the Utilities

Motion (the “Utility Services List”).4

              86.            Historically, the Debtors have a good payment record with the Utility Companies.

To the best of the Debtors’ knowledge, there are no defaults or arrearages of any significance for

the Debtors’ undisputed invoices for prepetition Utility Services, other than payment

interruptions that may be caused by the commencement of the Chapter 11 Cases. Based on their

monthly average for the twelve (12) months before the Petition Date, the Debtors estimate that

their cost of Utility Services for the next thirty (30) days will be approximately $250,000.

              87.            Uninterrupted Utility Services are essential to the Debtors’ ongoing operations

and, therefore, the success of the Debtors’ restructuring efforts. Without telecommunications,

water, gas, electricity, and other standard utility services, the Debtors would be unable to operate

their various retail locations and headquarters. Should any Utility Company alter, refuse, or

discontinue service, even briefly, the Debtors’ business operations could be severely disrupted.

The Debtors coordinate their businesses and retail operations through their headquarters in West

Hempstead, New York and their 11 retail locations in New York, New Jersey, Massachusetts and

Pennsylvania. Interruption of the Utility Services provided at these locations would disrupt the

Debtors’ ability to communicate with and provide services to their employees, vendors and

customers. Such interruption would negatively impact the Debtors’ restructuring efforts and all

parties-in-interest.




                                                            
4
              The inclusion of any entity in, or omission of any entity from, the Utility Services List is not an admission
              by the Debtors that such entity is, or is not, a utility within the meaning of section 366 of the Bankruptcy
              Code, and the Debtors reserve all rights and defenses with respect thereto.
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G.            Motion of Debtors for Interim and Final Orders (I) Authorizing Payment of Certain
              Prepetition Taxes and Assessments and (II) Directing Financial Institutions to
              Honor and Process Related Checks and Transfers (the “Taxes Motion”)

              88.            Through the Taxes Motion, the Debtors seek entry of an order (i) authorizing, but

not directing, the Debtors to pay various local, state, and federal taxing authorities (collectively,

the “Taxing Authorities”)5 all Taxes6 (as defined below) that arose before the Petition Date (as

defined below), including all Taxes subsequently determined by audit or otherwise to be owed

for periods before the Petition Date; and (ii) directing applicable banks and financial institutions

to receive, honor, process, and pay all checks issued or to be issued and electronic fund transfers

requested or to be requested relating to the above.

              89.            In connection with the normal operation of their businesses, the Debtors collect,

withhold and/or incur an assortment of taxes and assessments that they remit periodically to

various Taxing Authorities.

              90.            The taxes and assessments to which Debtors are typically subject generally fall

into the following categories: sales taxes, corporation taxes, real estate taxes and income taxes

(each herein defined and collectively, the “Taxes”). Below is a breakdown of the Debtors’

typical tax obligations by state and tax type:

          State                                                                   Tax Type
        New Jersey                                       Sales Tax
                                                         Partnership Income Tax
                                                         Corporation Tax
                                                         NJ-Urban Enterprise Zone Sales Tax

                                                            
5
              The definition of “Taxing Authorities” includes, but is not limited to, those parties set forth on the Taxing
              Authority List (as defined herein). The inclusion of any entity on, or the omission of any entity from, the
              Taxing Authority List is not an admission by the Debtors that such entity is, or is not, a Taxing Authority to
              which the Debtors owe any amount, and the Debtors reserve all rights with respect to any such
              determination.  
6
              By the Taxes Motion, the Debtors are not seeking authority to pay employee withholding taxes, which are
              addressed separately in the Employee Compensation Motion, discussed above.
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       State                                                         Tax Type
    Massachusetts                          Sales Tax
     New York                              Sales Tax
                                           City of New York Unincorporated Business Tax
     Pennsylvania                          Sales Tax
                                           Partnership Tax
                                           City of Philadelphia Business Income and Receipts Tax
                                           City of Philadelphia Net Profits Tax
         Delaware                          Annual Corporation Tax

             91.             The Debtors pay Taxes monthly, quarterly or annually, in each case as required

by applicable laws and regulations. During the last calendar year, the Debtors paid a total of

approximately $7,794,657 in Taxes, of which $7,785,670 was on account of remittance of Sales

Taxes (as defined below).

             92.             As noted above, the Debtors’ tax liability primarily relates to sales tax, which the

Debtors are required in certain states to collect and/or pay (the “Sales Taxes”) from sales to

customers. The Debtors collect the Sales Taxes on a per sale basis and periodically remit the

Sales Taxes to the applicable Taxing Authorities. Sales Taxes are remitted to the relevant

Taxing Authorities on the basis of Sales Taxes actually collected from customers during the prior

period. Sales Taxes are paid on a monthly or quarterly basis, depending on the state. If the

Debtors do not pay the Sales Taxes in accordance with their obligations, then the Debtors will

become liable for further amounts in the form of penalties.

             93.             The Debtors estimate that approximately $475,000 in Taxes, consisting entirely of

Sales Taxes, relating to the prepetition period will become due and owing to the Taxing

Authorities during the interim period after the Petition Date. The Debtors request authority to

pay these Taxes on an interim basis.




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             94.             The amounts of the Taxes listed above are good faith estimates based on the

Debtors’ books and records and remain subject to potential and ongoing audits and other

adjustments.

H.           Debtors’ Motion for Entry of Interim and Final Orders, Pursuant to Sections 105(a)
             and 363 of the Bankruptcy Code, (I) Authorizing the Debtors to (A) Continue
             Insurance Coverage Entered into Prepetition and Satisfy Prepetition Obligations
             Related Thereto, Including Administrative and Broker Fees, (B) Renew,
             Supplement, or Purchase Insurance Policies, and (C) Honor the Terms of the
             Premium Financing Agreements; (II) Authorizing Banks to Honor and Process
             Check and Electronic Transfer Requests Related Thereto; and (III) Granting
             Related Relief (the “Insurance Motion”)

             95.             Through the Insurance Motion, the Debtors seek entry of an order (a) authorizing,

but not directing, the Debtors to (i) continue insurance coverage entered into prepetition and

satisfy prepetition obligations related thereto, including administrative and broker fees,

(ii) renew, supplement, or purchase insurance policies in the ordinary course of business, and

(iii) honor the terms of the Premium Financing Agreements (defined below) and pay premiums

thereunder; (b) authorizing Banks to honor and process check and electronic transfer requests

related to the foregoing; and (c) granting related relief.

             96.             In the ordinary course of business, the Debtors maintain approximately 24

insurance policies (collectively, the “Insurance Policies”) that are provided and/or administered

by multiple third-party insurance carriers (collectively, the “Insurance Carriers”).                      The

Insurance Policies include, among other things, cyber liability, workers’ compensation insurance,

ocean cargo insurance, director and officer insurance, disability benefits liability insurance,

automobile insurance, boiler and machinery insurance, commercial general liability insurance,

crime insurance, and property insurance.

             97.             A schedule of the current Insurance Policies, policy terms, and annual premium

amounts is attached to the Insurance Motion as Exhibit C.
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             98.             The Debtors pay for the cost of insurance in one of two ways. First, they pay

premiums in the ordinary course of business (e.g., monthly, quarterly, or annually) from

immediately available funds. Second, in instances where it is economically advantageous to do

so, the Debtors finance premiums through BankDirect Capital Finance (“BankDirect”) and

AFCO Credit Corporation (“AFCO” and together with BankDirect, the “Premium Finance

Companies”).

             99.             Of the Debtors’ Insurance Policies, Property and Liability, D&O and Excess

Liability policies are financed. The Worker’s Compensation policy is not financed.

             100.            In the case of the financed policies (the “Financed Policies”), the finance

agreements (each a “Premium Financing Agreement”), copies of which are attached to the

Insurance Motion as Exhibit D, require the Debtors to make an initial down payment followed by

installments.

             101.            On account of the policies financed with AFCO, the Debtors owe total premiums

of $1,361,414.35.                 Pursuant to the AFCO Premium Financing Agreement, the Debtors are

required to make a down payment of $242,420.80 (which payment was paid) followed by 9

monthly payments of approximately $126,225.94.

             102.            On account of the policies financed with BankDirect, the Debtors owe total

premiums of $105,391.00.                   Pursuant to the BankDirect Premium Finance Agreement, the

Debtors are required to make a down payment of $10,500 (which payment was paid) followed

by 9 monthly payments of approximately $10,798.55.




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             103.             A summary of the Financed Policies is a follows:

 Premium                                          Effective      Name of
                              Policy Prefix and                                Type of    Premium     Months
 Finance                                          Date of       Insurance
                                  Numbers                                     Coverage       $        Covered
 Company                                           Policy       Company
                                                                 Argonaut            GL 924,636.00
                                                                Insurance          Taxes 0.00
   AFCO                        FM9405328-0        6/11/2018                                             12
                                                                Company             Fees 0.00

                                                                 Argonaut            GL 29,170.00
                                                                 Insurance         Taxes 0.00
   AFCO                        FM9405329-0        6/11/2018                                             12
                                                                 Company            Fees 0.00

                                                                   Starr          PROP 212,000.00
                                                                  Surplus         Taxes 7,632.00
   AFCO                      SLSTPTY11079718 6/11/2018                                                  12
                                                                 Lines Ins         Fees 30,800.40
                                                                    Co.
                                                                   RSUI           PROP    60,000.00
   AFCO                         LHD423648         6/11/2018     Indemnity         Taxes   2,160.00      12
                                                                Company            Fees   4,852.00
                                                                  Markel          PROP    35,000.00
                                                                American          Taxes   1,260.00
   AFCO                      MKLV21XP002654 6/11/2018                                                   12
                                                                Insurance          Fees   3,309.50
                                                                    Co.
                                                                  United          PROP 38,500.00
                                                                 National         Taxes 1,386.00
   AFCO                         LPE1193583        6/11/2018                                             12
                                                                Insurance          Fees 5,989.45
                                                                    Co.
                                                                  Hiscox             CR 4,719.00
                                                                Insurance          Taxes 0.00
   AFCO                             N/A           6/11/2018                                             12
                                                                Company             Fees 0.00
                                                                    Inc.
                                                                  Zurich      Umbrella 79,891.00
                                                                American
  BANK
                                    N/A           6/11/2018     Insurance                               12
 DIRECT
                                                                    Co.

                                                                 National         Excess 25,500.00
  BANK                                                            Surety         Liability
                                    N/A           6/11/2018                                             12
 DIRECT                                                         Corporation




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             104.            The Debtors’ obligations under the Financed Policies are secured by, among other

things, any benefits paid and any additional premiums due under those policies, including

dividends, gross unearned premiums, and payments on account of losses that result in a reduction

of unearned premiums. As of the Petition Date, the Debtors believe that they owe approximately

$862,000 on account of the Premium Finance Agreements. The Debtors are current with respect

to all obligations under the Premium Finance Agreements, and respectfully request authority to

pay all outstanding installment payments in connection with the Premium Finance Agreements in

the ordinary course of business.

             105.            The Debtors procure their Insurance Policies through Risk Management

International (the “Insurance Broker”). The Insurance Broker assists the Debtors in obtaining

comprehensive insurance coverage at competitive rates by evaluating benefit plan offerings. The

Insurance Broker collects commissions when the Debtors purchase coverage or when they remit

premiums or Financed Payments. The Debtors believe approximately $9,000 is owed to the

Insurance Broker. The Debtors seek authority to pay any prepetition amounts owed to the

Insurance Broker to ensure uninterrupted coverage under the Insurance Policies.

I.           Debtors’ Motion for Entry of an Order: (I) Authorizing the Payment of Prepetition
             Claims Asserted Under the Perishable Agricultural Commodities Act; and
             (II) Granting Related Relief (the “PACA Motion”)

             106.            Through the PACA Motion, the Debtors seek entry of an order (i) authorizing, but

not compelling, the payment of prepetition claims arising under the under the Perishable

Agricultural Commodities Act of 1930, as amended, 7 U.S.C. §§ 499a et seq. (“PACA”), and

(ii) granting certain related relief.

             107.            The Debtors believe that a certain portion of the products they have purchased but

not yet paid for may qualify as “perishable agricultural commodities” under PACA.

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             108.            The Debtors purchase certain goods from suppliers that may be entitled to the

protections under PACA (the “PACA Claimants”). The Debtors estimate that PACA Claimants

held $100,000 or more in unpaid claims as of the Petition Date (the “PACA Claims”).

Accordingly, through the PACA Motion, the Debtors seek authority to pay valid, pre-petition

PACA Claims (“Allowed PACA Claims”) in the ordinary course of business. For clarity, not

every claim held by a creditor that supplied perishable agricultural commodities will be entitled

to the protection of PACA. In addition, any supplier asserting a PACA Claim must comply

strictly with the notice requirements set forth in PACA. As such, the Debtors seek only the

authority to pay Allowed PACA Claims, without prejudice to their right to challenge any claim

asserted to be entitled to protection and/or treatment under PACA.

J.           Debtors’ Motion for Entry of Interim and Final Orders Authorizing Debtors to:
             (A) Use Cash Collateral on an Emergency Basis Pending a Final Hearing; and
             (B) Grant Adequate Protection (the “Cash Collateral Motion”)

             109.            Through the Cash Collateral Motion, the Debtors seek entry of an order

(i) authorizing the Debtors to use the Cash Collateral (as defined herein) of Capital One;

(ii) granting adequate protection to Capital One for the use of the Cash Collateral; (iii) modifying

the automatic stay to the extent necessary to permit the Debtors and Capital One to implement

the terms of the Interim Order; (iv) scheduling a final hearing on the Motion pursuant to

Bankruptcy Rule 4001; and (v) granting related relief.

             110.            The Debtors have an urgent and immediate need to use Cash Collateral. The

Debtors do not have sufficient unencumbered funds on hand or generated from their businesses

to fund operations. Without the use of Cash Collateral as requested herein, the Debtors would

not be able to implement the Store Closing Sales for the benefit of their stakeholders.



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             111.            The use of Cash Collateral is necessary for working capital, operating costs and

expenses incurred during these Chapter 11 Cases, including funding payroll. The Debtors do not

have sufficient sources of working capital, financing or cash to carry on the operation of their

businesses through the Store Closing Sales without the use of Cash Collateral. The Debtors’

ability to maintain their businesses pending the outcome of the Store Closing Sales and sale

process is dependent on their ability to continue to operate, and the Debtors cannot operate

unless they can fund payments for postpetition rent, payroll, goods, services and other operating

expenses. The use of Cash Collateral is thus essential to the Debtors’ continued operational

viability and will provide the Debtors with the opportunity to maximize value for their

stakeholders.

             112.            Hence, the Debtors determined, in the exercise of their sound business judgment,

that they require the use of Cash Collateral under the terms of the Interim Order and Final Order.

K.           Debtors’ Emergency Motion for Interim and Final Orders: (I) Authorizing the
             Debtors to Assume the Consulting Agreement; (II) Authorizing and Approving the
             Conduct of Store Closing or Similar Themed Sales, With Such Sales to Be Free and
             Clear of All Liens, Claims and Encumbrances; and (III) Granting Related Relief
             (the “Consultant Motion”)
 

             113.            Through the Consultant Motion, the Debtors seek entry of an order,

(i) authorizing the Debtors to assume the Consulting Agreement (as amended, modified, or

restated, and together with all exhibits, the “Consulting Agreement”) between the Debtors and

Hilco Merchant Resources, LLC and Gordon Brothers Retail Partners, LLC (collectively, the

“Consultant”); (ii) authorizing the Debtors to conduct store closing sales or similar themed sales

(defined herein as Store Closing Sales) in accordance with the proposed sale guidelines with

such sales to be free and clear of all liens, claims, encumbrances, and interests; (iii) exempting

the Debtors from compliance with certain applicable non-bankruptcy laws that purport to
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regulate liquidation, similar-themed sales and signage limitations; (iv) exempting the Debtors

from compliance with any contractual restrictions placed upon the Store Closing Sales; and (v)

permitting the Debtors to abandon any property of the estates that is burdensome or of

inconsequential value or benefit to the estates.

             114.            Given the potential breadth of the Store Closing Sales, the Debtors have

determined that hiring a liquidation consultant to assist them in running Store Closing Sales –

including by providing supervisors to oversee the sales in-store, providing additional personnel

to operate the stores as needed and recommending the appropriate mix and distribution of

inventory among stores – would better enable them to maximize the value of their assets in these

Chapter 11 Cases.

             115.            In selecting a liquidation consultant, the Debtors solicited proposals from four

nationally recognized liquidation consulting firms. The Debtors provided each of the firms with

diligence information, including inventory and sales reports, and ultimately received two

proposals for liquidation services to be provided on a fee (as opposed to equity) basis.

             116.            The Debtors have decided to retain the Consultant because the Debtors, in

consultation with SSG, determined that the Consultant’s proposal offered the best value in terms

of realization of net proceeds, execution risk, and timing. The Consultant has extensive expertise

in conducting store closing sales so as to be able to manage the orderly liquidation of the

Merchandise (as defined in the Closing Store Agreement) and certain furniture, fixtures,

equipment and other assets. In short, the Consultant was retained because they are best suited to

assist the Debtors in maximizing the value of the assets at the stores for the benefit of the

Debtors and their creditors.




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             117.            The Consulting Agreement was negotiated and entered into by the Debtors and

the Consultant without collusion, in good faith and from arm’s length bargaining positions.

             118.            The Debtors are seeking to assume the Consulting Agreement so that they can

benefit from the experience and resources that the Consultant has in performing large-scale

liquidations, while at the same time retaining control over the sale process. The Debtors believe

this arrangement will maximize returns to creditors and provide for an efficient liquidation of

their retail inventory, to the extent necessary.


                                        [remainder of page left intentionally blank]




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                                                    PART III

                                                 CONCLUSION

             For the reasons stated herein and in each of the First Day Pleadings, the relief sought

therein is in the best interests of the Debtors, their creditors and estates; and therefore, on behalf

of the Debtors, I respectfully request that the First Day Pleadings be granted.


            I declare under penalty of perjury that, to the best of my knowledge, and after reasonable

inquiry, the foregoing is true and correct.

            Executed this 24th day of October, 2018.



                                                  /s/ Mark Samson
                                                   Mark Samson

                                                  As Chief Restructuring Officer of NSC Wholesale
                                                  Holdings LLC, et al.




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